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Dawn Wagner 09/21/2022

 

 

 

 

 

 

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2 2 NUMBER MARKED FOR ID
3 PIA HOYT, LLC 3 Wagner Deposition
4 BY: MR. SCOTT HOYT 4
5 136 East South Temple 5 Exhibit No. 84 73
6 Suite 1900 6 Exhibit No. 85 76
7 Salt Lake city, Utah 84111 7 Exhibit No. 86 79
8 (801) 350-9022 8 Exhibit No. 87 81
9 shoyt@piohoyt.com 9 Exhibit No. 88 83
10 Representing the Plaintiffs; 10 Exhibit No. 89 88
11 11 Exhibit No. 90 93
12 BOYCE LAW FIRM, LLP 12 Exhibit No. 91 95
13 MR. JASON R, SUTTON 13 Exhibit No. 92 113
14 300 South Main Avenue | 44 Exhibit No. 93 119
15 Sioux Falls, South Dakota 57104 15 Exhibit No, 94 119
16 (605) 336-2424 16 Exhibit No. 95 125
17 jrsutton@boycelaw.com 17 Exhibit No. 96 128
18 Representing the Defendants. | 38 Exhibit No. 97 128
19 | 19 Exhibit No. 98 135
20 ee Exhibit No. 99 136
21 ALSO PRESENT: 21 Exhibit No. 100 137
22 Mr. John D'Andrea - videographer 22 Exhibit No. 101 138
23 he Exhibit No. 102 147
24 24 Exhibit No. 103 147
:

 

 

Mccorkle Litigation Services, Inc.
Chicago, Illinois (312) 263-0052
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1 Q. Anything else you recall reviewing? 1 know. But my intent is just to refer
2 A. I may have looked at some 2 generically as Zurich as the plaintiffs.
3 correspondence that I received from Cris Palmer. 3 Do you understand that?
4 Q. Do you recall any of the specific 4 A. Sounds good.
5 correspondence that you looked at? 5 Q. when did you first start working for
6 A. Just generally, our exchanges leading 6 Zurich?
7 up to the mediation. 7 A. 2002.
8 Q. Anything else you recall looking at in 8 Q. Walk me through generally your
9 preparation for your deposition here today? 9 employment history from when you graduated law
10 A. Nothing more I can recall at this time. |10 school in ‘96 up until when you started at
11 Q. Other than your attorney have you 11s Zurich in 2002?
12 spoken with anyone about being deposed here 2 A. Sure. After graduation, but prior to
13 today? 13 passing the bar, I got a position with John
14 A. NO. 14 Biestek and Associates in Arlington Heights,
15 Q. Are you the person within Zurich that 15 Illinois. I worked there for approximately a
16 is the primary contact person for Mr. Hoyt in 16 year. And then, I got a job downtown Chicago
17 handling the malpractice case against Cris 17. ‘for a firm by the name of Galvin, Lowery and
18 Palmer? 18 Meade. I worked there for approximately a year.
19 A. Yes, 19 And then, I worked for a law firm by the name of
20 Q. Iwant to switch gears just a little 20 Corbin and Matthews in Chicago, Illinois.
21 bit, ask some questions about your background. 21 Again, for approximately a year.
22 A. Okay. 22 And then, I joined a law firm by the
23 Q. I know you are a lawyer, so I know you 23. name of Querrey and Harrow. That's
24 graduated high school, but can you tell me where | 24 Q-U-E-R-R-E-Y and Harrow, H-R -- A-R-R-O-W.
13 15
1 and when? 1 That was also in downtown Chicago. And I worked
2 A. High school? 2 there up until I began working for Zurich.
3 Q. Yeah. 3 Q. During your time in private practice
4 A.  Iwent -- 4 with those law finns, what was the nature of
5 Q. Just habit. 5 your practice?
6 A. I went to James B. Conant High School 6 A. John Biestek and Associates was a
7 in Hoffman Estates, Illinois. 7 general practice, personal injury, family law,
8 Q. what's your undergraduate degree in? 8 real estate. Galvin, Lowery and Meade was
9 A. Communications. 9 in-house counsel for Warrior insurance company,
10 Q. Where did you go to school? 10 which is an automobile insurance carrier.
1 A. Western Illinois University. 11 corbin and matthews was a plaintiff's personal
2 Q. Any other degree other than your law 12.) injury firm. And Querrey and Harrow was an
13 degree that you obtained? }13 insurance defense firm.
14 A. NO. 14 Q. At the insurance defense firm Querrey
15 Q. When did you attend law school? 15 and Harrow, what types of files were you
16 A. 1993 through 1996. 16 handling?
17 Q. What law school did you attend? 17 A. I was handling insurance defense work
18 A. Northern Illinois University College of (18 for basically automobile defense. Also did some
19 Law. 19 dental malpractice defense, medical malpractice
20 Q. As we go along, I'm going to refer to 20 defense.
21 zurich just generically instead of the -- the 21 Q. Before starting at Zurich, had you ever
22 specific entities. So, if some reason it 22 appeared as counsel in a bad faith case?
23 matters whether it's, for instance, Zurich 23 A. NO.
24 America or any of the specific entities, let me | 24 Q. Before starting at Zurich, have you --
14 | 16
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1 A. Up until the year 2013. 1 with the workers’ compensation claim that

2 Q. What was your next position within 2 Mr. Leichtnam asserted that formed the basis for

3. Zurich? 3 the bad faith case?

4 A. It was assistant general counsel in the | 4 A. At any time?

§ corporate law department. 5 Q. Let me ask it this way.

6 Q. How did your duties and 6 Prior to the commencement of the bad

7 responsibilities change in that position? 7 faith case, were you involved?

8 A. It changed because I left the claims 8 A. No.

9 department for corporate law. 9 Q. And the bad faith case, so we are on
10 Q. And what types -- when you entered the (10 the same page, you and I both know is the -- the
11 corporate law department, what were you doing on |11 bad faith case that Mr. Leichtnam asserted
12 a general day to day basis? 22 against Zurich in which Cris Palmer is
13 A. When I first started in corporate law? (13 defending, at least initially; is that right?
14 Q. Sure. 14 A. Yes.

15 A. | Handling cases that have been filed 15 Q. would you agree that that's -- that's
16 against the company. 16 what I'm referring to when I say the bad faith
17 Q. And that would be the company direct 17s case.

18 Zurich rather than a claim against Zurich's 18 How about we say it that way?

19 insureds; is that right? 19 A. Okay.

20 A. Correct. 20 Q. During the bad faith case, although
21 Q. Has your position within Zurich changed |21 your title may have changed, did your duties and
22 since 2013? 22 ~responsibilities within Zurich, were they
23 A. Yes. 23 always, as you described them, in from
24 Q. When did it change next? 24 the assistant general counsel and corporate law

21 23

1 A. I think approximately the year 2017. 1 department, the handling of the direct claims, I

2 I'm not positive, but I was promoted to 2 guess?

3. vice-president, senior assistant general 3 A. Yeah, that's remained the same.

4 counsel. 4 Q. Originally I'll represent to you that

5 Q. Did your duties and responsibilities 5 the bad faith case was commenced in this case --

6 change at that time? 6 or it was commenced in South Dakota in March

7 A. That was mostly a -- a title change 7 of 2015.

8 promotion. 8 At that time do you recall to whom you

9 Q. Are there any other times your position 9 reported?

10 has changed with Zurich up through today? 10 A. Yes.
11 A. Last year. i Q. Who was that?
2 Q. What was the change that occurred last 12 A. Bill Peterson.

13-year? 13 Q. What was Mr. Peterson's position?

14 A. Iwas promoted to manager of a team of | 14 A. I don't recall his title. Maybe
15 paralegals. 15 associate general counsel. I don't recall.

16 Q. Did your duties and responsibilities 16 Q. In 2015 do you know how many lawyers
17 within the company change? 17 ‘there were within the general counsel office of
18 A. They -- it was added on to my current 18 Zurich? Give me an estimate.

19 responsibilities and now I have the oversight 19 A. Approximately between 20 and 30.

20 ~~ function of managing paralegals that respond to | 20 Q. And can you give me an estimate on how
21 subpoenas that are issued to the company. 21 many of those corporate law attorneys directly
22 Q. Now, based -- let me ask. Strike that. | 22 handled claims against the company?

23. +Let me start over. | 23 A. Four.

24 Were you involved directly at any time | 24 Q. The four that were involved, were all

22 | 24
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1 A. NO. 1 (whereupon, Wagner Deposition
2 Q. From 2015 to 2020 did you personally 2 Exhibit No. 72 was marked for
3 believe that there were any limits on your 3 identi fication.)
4 authority to resolve a claim against the 4 BY MR. SUTTON:
5 company, I mean, dollar limits? 5 Q. Ms. Wagner, I've handed you Exhibit 72,
6 A. I would need to have that discussion 6 which for the record is Zurich 2. And then a
7 with the internal stakeholder for authority. 7 separate Bates No. 2990.
8 Q. why would you have to have that 8 Do you see that?
9 discussion with the internal stakeholder for 9 A. Ido.
10 authority? 10 Q. Looking at this e-mail, is this the
1 A. That was the process. 11 e-mail that originally assigned the bad faith
12 Q. Do you know, for -- for instance, 12. case to Cris Palmer and the Gunderson Palmer law
13 budgeting or reporting purposes, if those claims /|13 firm?
14 affected in our example the workers' 14 A. I believe so.
15 compensation division of Zurich? Do you know 15 Q. Looking at the bottom of Zurich 2990,
16 how that's reported internally? 16 the e-mail is originally from a Demetrius Rush.
17 A. I don't know. 17 Do you know who Mr. Rush was?
18 MR. HOYT: Objection. Vague as to affected. | 18 A. It's my co-worker,
19 THE WITNESS: Sorry. I don't know. 19 Q. And then, you indicate up above that
20 BY MR. SUTTON: 20 you are going to be handling this case instead
21 Q. Do you have any understanding as to why | 21 of Demetrius as indicated in the e-mail on
22 the process required you to get authority fron 22. March 20th at 3:22 p.m.; is that right?
23. ~+the stakeholders as you described it? 23 A. Yes,
24 A. Why? 24 Q. Do you know why it was reassigned from
29 31
1 Q. Yeah. 1 Mr. Rush to you?
2 A. That was just the process. 2 A. I don't know if it was reassigned.
3 Q. So, ultimately, who made the decision 3 Q. Do you know why Mr. Rush sent out the
4 on whether to authorize a settlement in that 4 original engagement request?
5 2015 to 2020 time frame? 5 A. I think because he knew Cris Palmer.
6 A. On the Leichtnam case? 6 Q. Before this engagement had you ever had
7 Q. Sure. We will use that as an example. 7 any experience with Mr. Palmer?
8 Whose call is that? 8 A. NO.
9 A. The chief claims officer. 9 Q. Before this engagement had you any
10 Q. Do you know who that was at the time? | 10 experience with the Gunderson Palmer law firm?
1 A. Steve Hatch. | 1 A. NO.
12 Q. Is he still employed with Zurich, if | 12 Q. Had you any experience with any lawyers
13 you know? 13 in South Dakota?
14 A. No, he's not. | 14 A. I think I had maybe one other case in
15 Q. Do you know when he left? }15 South Dakota, but I don't recall the name of the
16 A. I don't know. /16 firm or the attorney.
17 Q. Do you have any idea where he is, | 17 Q. Do you know whether that case was a bad
18 either employed or retired now, do you know |18 faith case?
19 where he is? 19 A. I think jt was.
20 A. I have no idea. | 20 Q. Do you recall who plaintiff's counsel
21 MR. SUTTON: I've got 72 as our next one. |21 was?
22 Yeah, that's right. Next to the witness, you're | 22 A. NO.
23 the most important person in the room. | 23 Q. Okay. Before this bad faith case did
24 |24 you ever have any opportunity to have any
30 | 32
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1 developments that you are relying on to indicate | 1 received this e-mail?
2 that you needed to be provided a draft of the 2 A. I don't recall.
3 answer ahead of time? 3 Q. Would it have been your standard
4 A. Those drafts should be transmitted in 4 practice to review the pleadings when you
5 time for a corporate law attorney to provide 5 received them?
6 substantive comments and purpose -- and propose 6 A. It depends.
7 meaningful revisions. 7 Q. What does it depend on?
8 Q. Is that the only language in any 8 A. Depends on prior discussions, e-mail
9 document that you are aware of in which you 9 exchanges.
10 requested that a draft to the answer be provided | 10 Q. Do you recall whether there were any
11 to you prior to its filing? 11 = discussions or e-mail exchanges in the
2 A. well, I think there's general 12 Leitchtnam case that would have caused you to
13s references in the paragraph above regarding 13 not review the answer?
14. timely notifying of new pleadings and motions. 14 A. Because my general practice is that I
15 Q. Other than the billing guidelines, are 15 expect my attorneys to follow our guidelines and
16 =you aware of any communication to the Gunderson /|16 send me drafts before they are filed.
17 Palmer law firm requesting that you be provided | 17 Q. You understood you had not reviewed a
18 a draft of the answer prior to its filing? 18 draft of this before it was filed, correct?
19 A. Not that I recall. 19 A. I didn't recall if I did or not at this
20 (Whereupon, Wagner Deposition 20 time.
21 Exhibit No. 74 was marked for 21 Q. How many files were you handling at
22 identification.) 22 «that time?
23. BY MR. SUTTON: 23 A. I don't recall.
24 Q. Ms. Wagner, you've been handed -- 24 Q. Can you give me an estimate?
45 47
1 handed -- excuse me -- Exhibit 74, which is 1 A. Forty to 50.
2 Bates stamped GPNA 4227. 2 Q. Based upon your time as a private
3 This is an e-mail from Kristi Wood to 3 practice lawyer, did you understand that there
4 you on April 30, 2015; is that right? 4 was a period of time in which the answer could
5 A. Yes. 5 be amended even without leave of court or
6 Q. And did you receive this e-mail? 6 agreement of the parties?
7 A. I believe so. 7 A. I think it depends on jurisdiction.
8 Q. Any reason to dispute you received it? 8 Q. This case was pending in federal court;
9 A. NO, 9 is that right?
10 Q. Now, looking at the e-mail, Ms. Wood 10 A. Yes, I believe so.
11 indicates, attached is a copy of Cris Palmer's 11 Q. And did you understand that at that
12s correspondence to plaintiff's counsel regarding 12. time under the Federal Rules of Civil Procedure
13 inquiry on stipulating to dismiss Zurich NA, is | 13 that the answer could be amended for 21 days
14 =the first sentence; is that right? 14 automatically regardless of whether there was
15 A. Yes. 15 eave of court or permission of the other party?
16 Q. And then, it also says, also attached 16 A. I mean the rules say what they are.
17. is a copy of the answer we filed this afternoon; | 17 Q. Do you remember if you ever reviewed
18 is this right? 18 the answer in this case?
19 A. Yes. 19 A. I remember reviewing the answer after
20 Q. And when you look up at the attachment 20s retaining Hinshaw.
21 section, there's a -- in the first line at the 21 Q. Before that do you believe you ever
22 end, there's an answer, dot, PDF; is that right? | 22 reviewed the answer?
23 A. Yes. 23 A. I don't recall.
24 Q. Did you review the answer when you 24 Q. Before the engagement of the Hinshaw
46 48
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1_ firm in this case, did you ever have a 1 MR, SUTTON: Look at that airmail.
2 discussion with Cris Palmer in which you 2 THE REPORTER: Seventy-six.
3 ‘inquired why he had not asserted a duty for 3 MR. SUTTON: Thank you.
4 affirmative defenses in the answer? 4 MR. HOYT: Seventy-six.
5 A. I don't recall having that discussion. 5 THE WITNESS: Yeah, thank you.
6 Q. Would that be something you would 6 (whereupon, Wagner Deposition
7 expect you would recall? 7 Exhibit No. 76 was marked for
8 A. Not necessarily. 8 identi fication.)
9 Q. Have you ever been to South Dakota? 9 BY MR. SUTTON:
10 A. Yes. 10 Q. And Ms. Wagner, if you look at
11 Q. when? 11 Exhibit 76, that letter is dated August 3, 2015,
12 A. For the mediation in this case. 122 from Cris Palmer to you; is that right?
13 Q. Other than the mediation in this case, 13 A. Yes.
14 have you ever been there? 14 Q. So, Exhibit 76 is the attachment to
15 A. NO. 15 Exhibit 75.
16 Q. And I meant to ask this at the 16 Do you agree with that?
17 beginning, I forgot, so I apologize. 17 A. Yes.
18 What states are you licensed? 18 Q. Looking at Exhibit 76, in the second
19 A.  Tllinois. 19 sentence of the first paragraph Cris Palmer
20 Q. Have you ever been licensed in any 20 writes, there's several requests that may seem
21 ~other jurisdictions other than I1linois? 21 broad. However, my experience in this
22 A. NO. 22. jurisdiction is that the court shows great
23 Q. Are you licensed -- have you been 23‘ leniency during the discovery process.
24 ~‘licensed in federal court? 24 Did you -- or did I read that
49 51
1 A. Yes. 1 correctly?
2 Q. I assume in the district of Illinois? 2 A. You read that correctly.
3 A. Yes, 3 Q. And in fairness, I mean throughout the
4 Q. I won't break them down. 4 time that Cris was representing Zurich he was
5 THE REPORTER: Seventy-five. 5 telling you repeatedly that South Dakota law --
6 (whereupon, Wagner Deposition 6 allows incredibly broad scope of discovery in
7 Exhibit No. 75 was marked for 7 bad faith proceedings?
8 identification.) 8 A. He -- he mentioned that, yes.
9 BY MR. SUTTON: 9 ~ Q. From your perspective in handling
10 Q. MS. Wagner, you've been handed 10 claims against the company, what is the
1 sExhibit 75. 11 significance of a court allowing very broad
12 A. Yes. 12. discovery?
13 Q. And this is an e-mail from Beth Young 13 MR. HOYT: Objection. Overbroad. Vague.
14. +to you dated Monday, August 3, 2015; is that 14 ‘Incomplete.
15 right? 15 THE WITNESS: It depends.
16 A. Yes. 16 BY MR. SUTTON:
17 Q. And do you understand that Beth Young 7 Q. Is it significant to you?
18 is a paralegal in the Gunderson Palmer law firm? | 18 A. It could be.
19 A. That's what it says, yes. 19 Q. In the Leichtnam case was it
20 Q. In this e-mail, Ms. Young indicates to | 20 significant to you?
21 =you that attached is a letter from Cris and a 21 A. It was.
22 copy of plaintiff's first set of requests for 22 Q. And why was it significant?
23 production of documents; is that right? 23 A. Because I paid a lot in defense costs
24 A. Yes. | 24 due to the liberal discovery process.
50 | 52
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1 protective order; is that right? 1 BY MR. SUTTON:
2 A. Yes. 2 Q. Exhibit 83, when we look at Zurich
3 Q. would you please turn to Exhibit 80. 3 3176, the second page, that's the original
4 exhibit 80 is a letter from Mike Abourezk to 4 e-mail from Beth Young to you, which was
5 cris Palmer dated September 23, 2015. Is this 5 exhibit 81 we just looked at; is that right?
6 right? 6 A. Yes.
7 A. Yes. 7 Q. And Exhibit 83, is this your responsive
8 Q. And it is Bates stamped Zurich 3168, 8 e-mail on the first page?
9 which means that it came from your files in this 9 A. Yes.
10 malpractice action, that's what the Zurich two 10 Q. Looking at your responsive e-mail, you
11 means, rather than produced in the underlying 11 =write, quote, I am unable to provide the
12 bad faith case. 12 personnel files absent a court order, therefore,
13 Do you know how you received a copy of |13 we should be objecting to number two, number
14. «this letter? 14 four and number five.
15 A. I don't know. 15 Did I read that correctly?
16 Q. Do you know whether you reviewed it? 16 A. Yes.
17 A. I don't recall. 17 Q. What was your basis for saying that you
18 Okay. 18 could not provide those personnel files without
19 MR. SUTTON: What number are we at? 19 a court order?
20 THE REPORTER: E/ighty-one. 20 A. Privacy concerns.
21 (Whereupon, Wagner Deposition 21 Q. Were those privacy concerns -- was that
22 Exhibit Nos. 81-82 were marked 22 based upon internal Zurich policy or is that a
23 for identification.) 23 separate independent legal basis you are
24 24 —sreferring to?
69 71
1 BY MR. SUTTON: 1 A. I mean, I need to protect information
2 Q. Ms. Wagner, you've been handed 2 about our employees, so we have privacy concerns
3 Exhibit 81, which js an e-mail from Beth Young 3 and I'm sure we have protocols within Zurich
4 to you dated September 23, 2015; is that right? 4 that protect against that.
5 A. Yes. 5 Q. Do you recall whether you went back and
6 Q. And in the e-mail Ms. Young indicates 6 looked at those specific protocols?
7 that she is -- that, quote, attached is a letter 7 A. I think I already knew them.
8 from Cris outlining what discovery items are 8 Q. Is there a formal written policy within
9 still needed, close quote. 9 Zurich that prohibits the production of those
10 Did I read that correctly? 10 files without a court order at that time?
1 A. Yes. i A. Not related to litigation.
12 Q. And will you look at Exhibit 82, 12 Q. The formal policy prohibiting
13 — please. 13 disclosure of those orders, when is it -- or
14 Is this a letter from Cris Palmer to 14. strike that. Let me start over.
15 you dated September 23, 2015? 15 The policy -- what does the policy say
16 A. Yes. 16 as to when personnel files could not be produced
17 Q. Will you just confirm that Exhibit 82 17 without a court order?
18 is a true and accurate copy of the attachment in | 18 A. It's not related to litigation. It's
19 Exhibit 81? 19 just general privacy concerns about personal
20 A. Yes. 20 identifying information about our employees.
21 (whereupon, Wagner Deposition 21 Q. Was it Zurich's practice at that time
22 Exhibit No. 83 was marked for 22 ~=that it would not produce personnel files in
23 identification.) 23 ~—« litigation without a court order?
24 24 A. I don't know if it was -- there was --
70 72
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1 I don't think there was a policy. 1 Q. Looking down at the third paragraph

2 Q. Was it your practice at that time? 2 cris writes, I've been involved in many bad

3 A. I -- I don't know if I describe it asa | 3 faith cases in South Dakota's federal courts and
4 practice because each case is different. 4 all of our judges based on the history of bad

5 Q. SO, when you say, I'm unable to provide | 5 faith cases here routinely make carriers produce
6 the personnel files absent a court order, is 6 the personnel files.

7 ‘that just based on general privacy concerns? 7 Did I read that correctly?

8 A. Yes and the discovery request that were 8 A. You read that correctly.

9 sent on this case. 9 Q. And then at the end of that paragraph
10 Q. Can you identify for me any specific 10 cris writes, quote, as I think I have expressed
11 ~=egal basis that would prohibit the disclosure 11 to you in the past, and if I have, I apologize,
12. of that information in litigation? 12. I'm going to do it again, that I hate to have
13 A. Yes, there's lots of case law that 13. cases start out with discovery disputes knowing
14 protects personnel files being produced in 14 we are not going to prevail. It can set a bad
15 litigation. 15 tone for the case.

16 THE REPORTER: Eighty-four. 16 Did I read that correctly?

17 THE WITNESS: Thank you. 17 A. You read that correctly.

18 (whereupon, Wagner Deposition 18 Q. Based upon your handling of litigation
19 Exhibit No. 84 was marked for 19 files against Zurich, do you disagree with

20 identification.) 20 Attorney Palmer's -- well, strike that. Never
21 ~-BY MR. SUTTON: 21 =mind. withdraw the question.

22 Q. exhibit 84 is Bates stamped Zurich 3185 | 22 If you turn to Zurich 3186. with

23 ~~ through 3200; is that correct? 23 ~=regard to Request 16, we will certainly follow
24 A. Yes. 24 up on your thoughts here. The other thing I

73 75

1 Q. And this is a letter from Cris Palmer 1 want to do -- want to share with you with regard
2 to you dated September 24, 2015? 2 to newsletters and bad faith litigation with

3 A. Yes. 3 other carriers, we have sometimes had upwards of
4 Q. This letter in the first sentence of 4 10,000 pages of newsletters produced so we may
5 the paragraph Cris writes, thank you for your 5 have to work to show it is burdensome.

6 sent e-mail; is that right? 6 Is that what Mr. Palmer told you

7 A. Yes. 7 regarding the production of the newsletters?

& Q. So, is this letter, Exhibit 84, the 8 A. That's what this says.

9 responsive letter to your e-mail, which is 9 Q. And I realize there's a copying error
10 exhibit 83, written on the same day? 10 on at least my version of Exhibit 84. 84 should
11 A. I assume. 11 be two pages, Zurich 381 [sic] to 3816.

2 Q. In the first paragraph, the second 12 The original exhibits that you have,

13 sentence, Cris writes, quote, the one thing I do |13 Ms. Wagner, do they continue past 38167

14 want to express my concern about is with regard | 14 A. Yes.

15 to the personnel files. I am almost a hundred 15 Q. Will-you please remove the back pages
16 percent certain that Judge Viken will make you 16 of that exhibit.

17 produce those personnel files, close quote. 17 THE REPORTER: Eighty-five.

18 Did I read that correctly? 18 (whereupon, Wagner Deposition
19 A. You did. 19 Exhibit No. 85 was marked for
20 Q. Before the Leichtnam case, had you 20 identification.)

21 handled any other cases that you can recall that | 21 BY MR. SUTTON:

22 were pending before District Court Judge Viken | 22 Q. Ms. Wagner, you've been handed

23. in Rapid City? 23 Exhibit 85, which is Zurich 3217 through 3220.
24 A. Not that I recall. | 24 Looking at the bottom of Page 85,

74 | 76

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Dawn Wagner 09/21/2022

 

 

 

 

 

 

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1 leave in the objections. 1 A. I believe so.

2 Is that what she wrote to you? 2 Q. And no court had ordered the production

3 A. That's what she wrote, yes. 3 of those documents at that time, correct?

4 Q. And then, in the next sentence, she 4 A. That's correct.

5 advises you that she expects that, quote, 5 (whereupon, Wagner Deposition
6 plaintiff's counsel will very likely respond 6 Exhibit No. 88 was marked for

7 inmediately with a request to confer, which 7 identification.)

8 precedes a motion to compel if the parties 8 BY MR. SUTTON:

9 remain at odds, close quote. 9 Q. . Exhibit 88 is a letter from Jana Smoot
10 Did I read that correctly? 10 white to Mike Abourezk and Mike Simpson dated
11 A. You did, yes. 11 October 2, 2015, that you received a copy of; is
12 Q. And so, you understood that if you 12. «that right, Ms. Wagner?

13 remain on those objections, your lawyers were 13 A. Yes.
14 anticipating a motion to compel would be 14 Q. And with this letter Ms. Smoot white is
15 possible? 15 serving the responses to the written discovery
16 A. That's what she said. If they couldn't /16 along with some discovery documents; jis that
17 come to some other agreement, it looks like. 17s right?
18 (whereupon, Wagner Deposition 18 A. Yes.
19 Exhibit No. 87 was marked for 19 Q. And she writes that those documents,
20 identification. ) 20 quote, are being produced under the cover of the
21 BY MR. SUTTON: 21 protective order, which I have signed, close
22 Q. Exhibit 87 is an e-mail chain. The 22 quote.
23 oldest e-mail of which is an e-mail from Beth 23 Did I read that correctly?
24 Young to you copying Jennifer Hover on 24 A. Yes, you read that correctly.
81 83

1 October Ist, 2015 at 8:53 a.m.; is that right? 1 Q. Are you aware of any evidence

2 A. Yes. 2 indicating that any of the confidential

3 Q. And in that e-mail from Ms. Young, 3 documents produced by Zurich in the bad faith

4 she's providing you a draft of the responses to 4 case were ever used in contravention of the

5 the written discovery; is that right? 5 protective order that was entered?

6 A. Yes. 6 A. Can you repeat that?

7 Q. Do you -- you write a responsive e-mail § 7 MR. SUTTON: Can you read it back.

8 on October 1 at 9:52 a.m.; is that right? 8 (whereupon, the record was read

9 A. Yes. 9 as requested.)

10 Q. And you indicate, quote, I've had a 10 THE WITNESS: I don't know.

11 chance to review the personnel files of Jason 11s BY MR. SUTTON:

12. Suttler, Kim Duncan, and Amy Mueller, who were 12 Q. As part of this malpractice action, is
13. the claims handlers and supervisor at the time 13. Zurich alleging that the Gunderson Palmer law
14. of the allegations contained in the plaintiff's 14 firm made a mistake in producing documents prior
15. complaint, open paren, 2009 and 2012, close 15 to the entry of protective order?

16 paren. Perhaps we could include partial 16 A. I believe there's allegations of
17 personnel files which include performance 17 = general breach of fiduciary duty.

18 evaluations. 18 Q. And as part of those allegations of
19 Is that what you wrote? 19 breach of fiduciary duty, is Zurich claiming
20 A. That's what I wrote. 20 that the Gunderson Palmer law firm breached its
21 Q. At this time on October 1st of 2015, 21 = duty by producing documents prior to the entry
22 were you in agreement providing at least 22 of a protective order?

23 portions of the personnel files to plaintiff's 23 A. I'm not sure if I understand that
24 counsel in response to discovery? 24 = question.

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1 Q. Do you understand what the allegations 1 form the factual basis for your claims of breach
2 are that Zurich is using to form the basis for 2 fiduciary duty in this case?
3. its breach of fiduciary duty claims? 3 A. That's a broad question. I can't
4 A. Ido. 4 answer that the way that's -- that's asked.
5 Q. And do those include a claim that 5 Q. Other than the production of documents
6 Gunderson Palmer should not have produced any 6 that contained potential attorney-client
7 documents until after the judge entered the 7 privilege information, is there any other aspect
8 protective order? 8 of the production of the discovery that forms a
9 A. That would be covered under the general 9 factual basis for Zurich's breach of fiduciary
10 allegations that we assert under breach of 10 duty claims?
11 fiduciary duty. 11 MR. HOYT: Can I hear that back?
12 Q. So, that is a claim that you are 12 (whereupon, the record was read
13 asserting in this case -- Zurich is asserting, 13 as requested.)
14s correct? 14 MR. HOYT: I'm going to object as vague,
15 A. It could be. 15 overbroad, and incomplete.
16 Q. All right. Is it a claim that Zurich 16 THE WITNESS: I can't think of anything right
17 is asserting in this case? 17s now.
18 MR. HOYT: Well, Counsel, the pleadings will |18 BY MR. SUTTON:
19 speak to what the claim is. 19 Q. Is there anyone else within Zurich that
20 THE WITNESS: Yeah. 20 would be in a better position than you to
21 ‘BY MR. SUTTON: 21 articulate the factual basis for the allegations
22 Q. Do you know whether that form -- that 22 against the Gunderson Palmer law firm in this
23. ~factual basis forms any aspect of what Zurich is | 23 case?
24 ~in fact claiming in this case? 24 A. My attorney.
85 87
1 A. I don't understand that question. 1 Q. Within Zurich as an entity, rather than
2 Q. As part of the lawsuit that Zurich has 2 your attorney?
3 brought against Gunderson Palmer, are one of the 3 A. NO.
4 allegations of breach of fiduciary duty that 4 (whereupon, wagner Deposition
5 Gunderson Palmer was -- made a mistake in 5 Exhibit No. 89 was marked for
6 producing documents before the protective order 6 identification.)
7 was entered? Is that a claim or not? 7 BY MR. SUTTON:
8 A. AS I stated before, there's general 8 Q. Ms. Wagner, do you have Exhibit 89 in
9 allegations of breach of fiduciary duty 9 front of you?
10 contained in the complaint that could encompass 10 A. Ido.
11 those types of acts. [41 Q. Exhibit 89 is a letter from Cris Palmer
2 Q. Do you know whether they encompass 12 to you dated September 25, 2015; is that right?
13. that -- that factual basis forms part of your 13 A. Yes.
14. claim for breach of fiduciary duty? 14 Q. And this is the same time that you are
15 A. TI-recall that Cris Palmer did turn over | 15 also working with the Gunderson Palmer law firm
16 a document during discovery that I believe 16 and responding to the written discovery; is that
17.‘ Abourezk flagged as confidential. 17 ~—s right?
18 Q. Are you referring to the production of (18 A. Yes.
19 the document that contained some attorney-client | 19 Q. In Exhibit 89, attorney Palmer
20 privilege information? 20 references a, enclosed please find a letter that
21 A. I believe so, 21 I received from Mike Abourezk; is that right?
22 Q. And so -- and I want to make sure that 22 A. Yes.
23. I understand. So, are there any other documents | 23 Q. I'm going to hand you, maybe, what was
24 that you are aware of that were produced that 24 ~=previously marked as Exhibit 19.
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1 when to just summarize the reconmendation for 1 Did I read that correctly?
2 the management? 2 A. You read that correctly.
3 A. If it was requested. 3 Q. And the Jast paragraph, he's reminding,
4 Q. Before the Leichtnam case, had you 4 again, discovery is going to be painful and
5 handled other bad faith cases with the head of 5 expensive; isn't he?
6 claims at that point in time? 6 A. You are, again, reading that correctly.
7 A. I'm not sure. 7 (whereupon, Wagner Deposition
8 Q. Do you know whether he would be -- 8 Exhibit No. 91 was marked for
9 whether he had in the past requested that the 9 identification. )
10 actual summary letter from the lawyer be 10 BY MR. SUTTON:
11 = forwarded? i Q. Ms. Wagner, you've been handed
12 A. I'm not sure. 12 = Exhibit 91, which is a letter dated December 14,
13 THE REPORTER: Ninety. 13 2015, from cris Palmer to you; is that right?
14 MR. SUTTON: Thank you. 14 A. Yes.
15 (Whereupon, Wagner Deposition 15 Q. And in that letter, Mr. Palmer
16 Exhibit No. 90 was marked for 16 indicates that he is enclosing a, quote,
17 identification.) 17 lengthy, close quote, response I received from
18 BY MR. SUTTON: 18 Mike Abourezk regarding our discovery responses;
19 Q. Ms. Wagner, I've handed you Exhibit 90, {19 is that right?
20 which is Bates stamped Zurich 3318 to 3319. 20 A. Yes.
21 Is this a letter that -- from attorney 21 Q. And he indicates that that's a meet and
22 ‘Palmer to you on November 24, 2015? 22 confer letter that was anticipated?
23 A. Yes. 23 A. Is that how he categorized? If
24 Q. And in this letter in the first 24s that's --

93 95
1 sentence, attorney Palmer encloses a copy of a 1 Q. He didn't. Let me --
2. decision from Judge Duffy regarding recent 2 A.  -- what it says, then I'm sure that's
3 discovery disputes in a bad faith case, correct? 3 what --
4 A. Correct. 4 Q. Here is exactly what he said. Quote,
5 Q. Do you recall -- did you -- did you 5 this would be the equivalent of what I would
6 read this letter when you received it? 6 call a true and meet confer, close quote.
7 A. I'm sure I did. 7 Did I read correctly?
8 Q. Would you have read the decision that 8 A. Yes.
9 was provided with it? 9 Q. And you understand as a lawyer that
10 A. Perhaps. I'm sure I over viewed it. 10 meet and confer is the first step for pursuing a
11 Q. In the first paragraph, attorney Palmer |11 motion to compel, correct?
12 says, quote, as I've told you, it doesn't work 12 A. It's a step in the discovery process,
13 out well for defendants and this is just the /13 correct.
14 recent look at it. | 44 Q. And a motion to compel would be when a
15 Is that what he wrote? 15 party goes to the court and asks that the other
16 A. That's what he wrote. 16 side be required to provide information that
17 Q. And he's talking about the scope of 17 ‘they have not yet provided; is that a fair
18 discovery in South Dakota, correct? 18 summary?
19 A. Yes. 19 A. Yes.
20 Q. He then indicates in the second 20 Q. Now, will you please -- I'm going to
21 paragraph, quote, in trying to value these 21 hand you -- excuse me, what was previously
22 cases, it gets to be a point where there is a 22 marked as Exhibit 44.
23 large major, the dollar payment that you can 23 THE VIDEOGRAPHER: Counsel, your microphone
24 + tolerate to get rid of the thing, close quote. |24 is falling.

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1 Q. I'm sorry. 1 would be more comfortable in a mediation setting
2 A. The one that we -- 2 and I can certainly live with that.
3 Q. Exhibit 92. 3 Did I read that correctly?
4 A. The one that we called back? 4 A. Yes.
5 Q. Yes. 5 Q. Now, a minute ago you testified that
6 Is that the same meeting? 6 you thought that it was attorney Palmer that had
7 A. Yes, 7 recommended mediation.
8 Q. Okay. 8 Does Exhibit 25 refresh your
9 (whereupon, Wagner Deposition 9 recollection as to who was -- or whether you
10 Exhibit No. 95 was marked for 10 preferred mediation versus a direct counteroffer
1 identification. ) 11 approach to resolution?
12 BY MR. SUTTON: 12 A. So based upon this letter, it looks
13 Q. Exhibit 95 is a letter from Cris Palmer (13 like we talked about different approaches and in
14 to you dated March 15, 2016; is that right, 14 ‘the first paragraph is where he's recommending
15 Ms. Wagner? 15 the mediation setting and the second paragraph,
16 A. It is. 16 he's referencing that during our conversation
17 Q. And in this letter, in the first 17. that I was leaning towards a mediation setting
18 sentence, Cris writes, I'd like to visit with 18 as well.
19 you about settling this case and how to approach | 19 Q. One of the approaches that you could
20. the settlement offer? 20 have taken in response to attorney Abourezk is
21 A. Yes. 21 to just make a direct counteroffer rather than
22 Q. Did you receive that letter? 22 ina mediation setting; is that right?
23 A. Yes. 23 A. That's an option, yes.
24 Q. And did you read it when you received 24 Q. Do you recall as you sitting here
125 | 127
|
1 it? 1 whether you personally had a preference for
2 A. I'm sure I did. 2 negotiating through a mediation versus making a
3 Q. I'm going to hand you what's previously | 3 direct counteroffer?
4 been marked as Exhibit 25. This is a letter 4 A. Iwas relying on Cris Palmer's
5 from Cris Palmer to you dated April 6 [sic], 5 recommendations and our discussions, but more
6 2016; is that right? 6 typically in cases most attorneys prefer a
7 A. NO. 7 mediation setting.
8 Q. And did you receive this letter? 8 Q. Do -- did you have a preference?
9 A. Yes. 9 A. I'm open to any options to try and
10 Q. And I assume you read it when you 10 resolve a case.
11—sreceived it? 11 (whereupon, Wagner Deposition
12 A. Yes. 12 Exhibit Nos. 96-97 were marked
13 Q. Now, in the second sentence of this 13 for identification.)
14 letter, Cris writes, although I have had the | 14
15 best success in the past dealing with Mike }15 BY MR. SUTTON:
16  Abourezk on a one-on-one basis, based on our | 16 Q. Ms. Wagner, you've been handed
17 discussions and your thoughts with regard to /17_ Exhibit 96, which is an e-mail exchange Bates
18 evaluating the claim, I'm thinking maybe it 18 stamped Zurich 3494, 3495. Looking at the
19 makes more sense in this setting to see if he's 19 bottom e-mail, which is from Kristi wood to you,
20 willing to mediate this matter. 20 dated April 8, 2016, will you just please
21 Did I read that correctly? 21 confirm that that's the e-mail that attaches
22 A. Yes. 22 Exhibit 257
23 Q. And then in the second paragraph, he 23 A. Twenty-five, yes.
24 says, I sense from our conversations that you 24 Q. And then on April 11, 2016, you write
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1 back indicating you agree with the plan, 1 mine always send discovery and it's not
2 correct? 2 something I need to instruct them to do.
3 A. Yes. 3 Q. when you traveled to Sioux Falls, did
4 Q. Will you look at Exhibit 97, please. 4 you have settlement authority?
5 A. Yes. 5 A. Ididn't travel to Sioux Falls.
6 Q. Exhibit 97 is a letter from attorney 6 Q. Excuse me. I'm sorry, bad question.
7 Palmer to you dated June 10, 2016; is this 7 ‘Thank you.
8 right? 8 when you traveled to Rapid City for the
9 A. Yes. 9 mediation, did you have settlement authority?
10 Q. And he indicates in the first paragraph | 10 A. I did.
11 ~=he's going to follow up about getting the i Q. How much was the authority that you
12 mediation scheduled, correct? 12 had?
13 A. Yes. 13 A. Two hundred thousand.
14 Q. And then in the second paragraph, he 14 Q. And that authority was based upon --
15 writes, quote, I do want you to know that he 15 well, never mind. I -- I'll withdraw the
16 just tried a bad faith case against Travelers 16 question.
17. ‘last week, and got an underlying verdict of 7 MR. HOYT: You know, it just occurs to me.
18 950,000 and 2.75 in punitive damages; is that 18 Do we need to check out?
19 correct? 19 MR. SUTTON: Probably. I did. Do you want
20 A. You read that correct. 20 ~— to do that?
21 Q. And did you understand the 2.75 to be 21 MR. HOYT: I better go.
22. 2.75 million? 22 MR, SUTTON: Let's take a break.
23 A. Yes. 23 THE WITNESS: You don't want to get charged
24 Q. Now, there was a mediation that 24 another night here.
129 131
1 occurred; is that right? 1 THE VIDEOGRAPHER: The time is 12:16 and we
2 A. Eventually. 2 are off the record.
3 Q. And -- and that was in October of 2016, 3 (whereupon, a discussion was had
4 correct? 4 off the record.)
5 A. Yes. 5 THE VIDEOGRAPHER: All right. We are back on
6 Q. Did you travel to Rapid City for that 6 the record and the time is 12:23.
7 mediation? 7 BY MR. SUTTON:
8 A. I did. 8 Q. Ms. Wagner, right before we broke we
9 Q. At any time prior to the mediation, did | 9 were talking about the mediation.
10 you instruct attorney Palmer to send discovery 10 Do you recall that the first offer made
11 «to Mr. Leichtnam? 11 by Mike Abourezk at the mediation to settle was
12 A. Outside of the guidelines, I don't 12 §2 million?
13. recall a specific e-mail. 13 A. I recall that his opening demand at the
14 Q. Do you recall having any discussions 14. mediation was 2 million, yes.
15 with attorney Palmer that it would be helpful to | 15 Q. And Zurich countered with $10,000 as an
16 have pending discovery for leverage purposes at |16 offer, correct?
17‘ the mediation? 17 A. That was our first offer.
18 A. To be honest, I assumed he had sent 18 Q. And then, the demand was reduced to
19 them. 19 $1,995,000; is that right?
20 Q. In other instances, have you had 20 A. It was.
21 ~=conversation with defense counsel that you want | 21 Q. And then that was the end of the
22 to send discovery in order to apply pressure on | 22 mediation, correct?
23. ~ mediation? 23 A. Yes, those were the last numbers
24 A. Typically, attorneys defending cases of 24 discussed.
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1 Q. Do you recall having any discussions 1 had with attorney Palmer while in Rapid city for
2 with attorney Palmer during the mediation about 2 the mediation regarding the plan for handling
3 next steps in the defense of the case? 3 the case after the settlement mediation was
4 A. I don't recall if we did or not. 4 unsuccessful?
5 Q. After the mediation there was no 5 A. I don't remember.
6 further settlement discussions with Mike 6 THE REPORTER: Ninety-eight.
7 Abourezk in the bad faith case until the Hinshaw | 7 THE WITNESS: Thank you.
8 firm effectively had taken over, correct? 8 (whereupon, wagner Exhibit
9 A. TI believe so, yes. 9 No. 98 was marked for
10 Q. AS part of this malpractice case, is 10 identification.)
11 Zurich alleging that attorney Palmer's mistakes |11 BY MR. SUTTON:
12. in handling the defense of the case may -- R Q. MS. Wagner, you've been handed
13 weakened your negotiating position at the 13 Exhibit 98, which is a letter from attorney Cris
14. mediation? 14 Palmer to you dated December 2, 2016; is that
15 A. Absolutely. 15 right?
16 Q. And at any time after the mediation, 16 A. Yes.
17 ~~ did you instruct attorney Palmer to reinitiate 17 Q. And in that letter, Mr. Palmer provided
18 settlement discussions? 18 to you a copy of the plaintiff's expert, Elliott
19 A. I don't recall. 19 Flood; is that right?
20 Q. What was your reaction when you left 20 A. Yes.
21. ~ =the mediation? 21 Q. And Mr. Palmer writes, after you have
22 A. Shocked. Disappointed. 22 had a chance to review this, we should talk
23 Q. What was causing your disappointment? 23. about what we want to do with regard to the
24 A. The fact that the demand was higher 24 retention of our own expert; is that right?
. 133 135
1 when I arrived versus what I thought it was when | 1 A. You read that correct, yes.
2 Iwas flying out there. 2 Q. Did you review Mr. Flood's report when
3 Q. At the mediation would you have paid 3 it was provided?
4 $300,0007 4 A. I believe I did.
5 A. Possibly. 5 (whereupon, Wagner Deposition
6 Q. What steps would you have needed to 6 Exhibit No. 99 was marked for
7 take at the mediation in order to obtain that 7 identification.)
8 authority? 8 BY MR. SUTTON:
9 A. Make a phone call. 9 Q. Exhibit 99 is a letter from Cris Palmer
10 Q. And that phone call would be to whom? 10 to you dated December 16, 2016; is that right,
11 A. Steve Hatch. 11 Ms. Wagner?
12 Q. When you arrived at the mediation, had | 12 A. Yes.
13 you determined what your walk away number was 13 Q. And in this letter at the third
14. going to be? 14 paragraph, attorney Palmer indicates, as the
15 A. NO. 15 mediation on October 24 was not successful, I
16 Q. Based on what you knew at the time, did |16 anticipate plaintiff's counsel will now pursue
17 you believe that $300,000 was a reasonable 17 responses to the discovery, including the likely
18 settlement value for the case? 18 motion to compel; is that right?
19 A. Idid. 19 A. You read that correctly.
20 Q. And were you prepared to recommend a 20 Q. And just so that, I mean it's clear, at
21 settlement of $300,000 at the mediation if it 21 east up through the mediation, the meet and
22 would have resolved the case? 22 confer letter and the discovery deficiencies
23 A. TI would have. 23. «that were out there, plaintiff's counsel wasn't
24 Q. Do you recall any discussions that you (24 pushing on those, correct?
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1 A. Not that I was aware. 1 reviewing the memo that was provided to you by
2 Q. Attorney Palmer says in the bottom 2 attorney Palmer?
3 paragraph on Zurich 3654, therefore, I want to 3 A. I believe so, yes.
4 provide you the enclosed detailed analysis of 4 Q. I'm going to hand you what has
5 plaintiff's request and the likely ruling if the 5 previously been marked as Exhibit 17. will you
6 request were to go to court on a motion to 6 please turn to Zurich 3701 within Exhibit 17.
7 compel and my advice how to proceed. 7 Are you with me, MS. Wagner?
8 Did I read that correctly? 8 A. Tam.
9 A. Yes. 9 Q. Thank you.
10 (Whereupon, Wagner Deposition 10 That's a letter dated January 12, 2017,
11 Exhibit No. 100 was marked for | 11 to you signed by Cris Palmer; is that right?
12 identification.) 2 A. Yes.
13. BY MR. SUTTON: 13 Q. And Mr. Palmer is recommending that
14 Q. And then, will you please turn to 14 Zurich engage a defense expert by the name of
15 Exhibit 100. And Ms. Wagner, I'll represent to 15 charlie Henderson, correct?
16 you that Exhibit 100 is this memorandum that 16 A. Correct.
17 goes from Zurich 3656 to 3666, is next in the 17 Q. And ultimately you agree with
18 sequential Bates stamp of the documents produced |18 proceeding to engage Mr. Henderson, correct?
19 by Zurich from Exhibit 99. 19 A. I did.
20 Do you know whether Exhibit 100 is the 20 Q. Here is what's previously been marked
21 enclosure that was provided to you with 21 as Exhibit 18. will you just please confirm
22 Exhibit 99? 22 that you received the letter and draft report
23 A. I believe it was. 23. ~+that was provided by attorney Palmer as part of
24 Q. Did you review Exhibit 100 when you 24 ~=eExhibit 18. I'm sorry, let me -- did you
137 139
1 received it? 1 receive Exhibit 18?
2 A. I did. 2 A. I did.
3 (whereupon, Wagner Deposition 3 Q. And did you review the draft report
4 Exhibit No. 101 was marked for 4 when it was provided to you?
5 identification.) 5 A. I did.
6 BY MR. SUTTON: 6 Q. Did you have any concerns with --
7 Q. Exhibit 101, if you turn to the oldest 7‘ regarding the opinions being promulgated by
8 e-mail in the chain on Zurich 3818, it indicates 8 Mr. Henderson in defense of this case?
9 that there is a letter -- or Kristi wood is 9 A. Not that I recall.
10 sending you an e-mail on December 16, 2016, 10 Q. Did you ever request that attorney
11 attaching a letter; is that right? 11 Palmer engage any other experts other than
12 A. Yes. 12. Mr. Henderson as part of the defense of the
13 Q. we'll look back at Exhibit 99, that's 13. «case?
14 the same date, December 16, 2016, correct? 14 A. Not that I recall.
15 A. Yes. 15 Q. I'm going to hand you what's previously
16 Q. So, the e-mail on Zurich 3818, would 16 been marked as Exhibit 33.
17 you agree that that's the transmission of the | 17 This is a letter dated December 7,
18 etter that is Exhibit 99? | 18 2017, from Cris Palmer to you; is that right?
19 A. I believe so, yes. 19 A. Yes.
20 Q. So, then we look at Exhibit 101, is 20 Q. So, that's -- the mediation was in
21 this your responsive e-mail on the first page, 21 october of 2016, correct?
22. Zurich 3817? 22 A. I believe so, yes.
23 A. It looks like it, yes. 23 Q. Looking at the second paragraph,
24 Q. And did you prepare this after 24 attorney Palmer writes, we are going to need to
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1 A. Just his lack of effort all the way 1 before I arrived there.
2 through up to that point. 2 Q. Are you aware of any information
3 Q. You would agree with me that after 3. indicating that Mr. Palmer had that information
4 the -- well, do you agree with me that after the | 4 prior to the morning of the mediation?
5 Hinshaw firm took over the defense of the case, 5 A. I don't know.
6 they were primarily making all strategic 6 (Whereupon, Wagner Deposition
7 decisions on the defense? 7 Exhibit Nos. 102-103 were
8 A. I requested that they take the lead. 8 marked for identification.)
9 Q. And as part of that, you expected that 9 BY MR. SUTTON:
10 they were making the strategic decisions, 10 Q. Exhibit 102, Ms. Wagner, is a letter to
11 = correct? 11 you dated January 5, 2018, from attorney Palmer;
12 A. I expected them to take the lead in 2 is that right?
13 those decisions. 13 A. Yes.
14 Q. At any time do you recall Mr. Palmer 14 Q. And in the third paragraph, attorney
15 communicating to you that he thought he had made | 15 Palmer represents an updated memorandum
16 a mistake in handling the defense of the case? 16 regarding discovery; is that right?
Le A. He did not. 17 A. That's correct.
18 Q. Have you told me everything that 18 Q. And when you look at -- you can't see
19 contributed to your decision to replace 19 it because of the printing on the first page of
20 Mr. Palmer with the Hinshaw law firm in defense 20 Exhibit 102, but the second page, there's a
21 ~~ of the underlying bad faith case? 21 += Bates stamp Zurich 3909; is that right?
22 A. I mean, as I said, the list is long. 22 A. Yes.
23 Q. well, what's in that list? 23 Q. And actually, it's not sequential, that
24 A. Um, like I said, it's complete lack of 24 means I'm wrong. So, will you turn to
145 147
1 effort. Huge delays of being unresponsive. Not | 1 exhibit 103.
2 providing me with answers to questions that I | 2 A. Okay.
3. articulated. Dragging his feet when it came to 3 Q. What's the date of the memo that is
4 scheduling the mediation. Missing the 4 referenced in Exhibit 103?
5 opportunity to settle the case for lower 5 A. January 4th, 2018.
6 amounts. Blind siding me at the mediation. 6 Q. And what is the date of the letter that
7 Q. How did Mr. Palmer blind side you at | 7 is Exhibit 1027
8 the mediation? 8 A. January Sth, 2018.
9 A. When I arrived, there was already 9 Q. Do you know was Exhibit 103 the
10 conversations taking place between plaintiff's (10 enclosure that was provided to you in
11 counsel and the mediator and Cris Palmer. /11 conjunction with Exhibit 1037
12 Q. Did Mr. Palmer share with you what 12 A. I believe so.
13 those -- those discussions were? | 13 Q. Did you review that when you received
14 A. He said that they had discussed the 14 «it?
15 fact that the demand had been increased. } 15 A. Yes.
16 Q. Did he tell you when he learned that | 16 (Whereupon, Wagner Deposition
17. information? (17 Exhibit No. 104 was marked for
18 A. That morning. | 18 identification. )
19 Q. Is there anything else that forms the 19 BY MR. SUTTON:
20 basis for why you claim Mr. Palmer blindsided | 20 Q. Exhibit 104 is an e-mail chain, which
21 =you at the mediation? |21 is Zurich 3947 through 3950; is that right?
22 A. He never indicated that the demand was | 22 A. Yes.
23 anything other than the 325,000 beforehand and | 23 Q. And is this e-mail chain the initial
24 ~=that Mr. Abourezk was going to withdraw it (24 contact that you sent out to a Mike Marick,
146 | 148
Mccorkle Litigation Services, Inc. 145..148

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